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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________             _

SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,
             v.
                                                              No. 1:10-CV-457
MCGINN, SMITH & CO., INC., et al.,                            (GLS/CFH)

                           Defendants.
______________________________ _______

APPEARANCES:                                           OF COUNSEL:
U.S. Securities & Exchange Commission                  KEVIN P. McGRATH, ESQ.
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New York, New York 10281
Attorneys for plaintiff

Phillips Lytle LLP                                     CATHERINE EISENHUT, ESQ.
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125 Main Street
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for Receiver, William J. Brown, Esq.

Weddle Law PLLC                                        JUSTIN S. WEDDLE, ESQ.
250 West 55th Street, 30th floor
New York, NY 10019
Attorney for Defendant David L. Smith



                                  AMENDED ORDER

      On August 10, 2021, the Court-appointed receiver filed a motion seeking Court

approval for the eighteenth interim application for approval of attorneys’ fees and

expenses. Dkt. No. 1204. On August 11, 2021, the accountants for the receiver filed

the fifteenth interim application for the approval of accounting fees and expenses. Dkt.

No. 1205. Defendant David Smith filed a response in opposition to both requests. Dkt.

No. 1207. On September 3, 2021, the receiver filed a reply. Dkt. No. 1208.
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       On October 20, 2021, the Court-appointed receiver filed a motion seeking Court

approval for the nineteenth interim application for approval for attorneys’ fees and

expenses. Dkt. No. 1211. Also on that date, the accountants for the receiver filed the

sixteenth application for approval of accounting fees and expenses. Dkt. No. 1212.

Defendant David Smith filed a response in opposition to both requests. Dkt. No. 1213.

On November 10, 2021, the receiver filed a reply. Dkt. No. 1214.

       On December 1, 2021, the Court conducted a conference on-the-record with

counsel for plaintiff, the receiver, and defendant David Smith. As directed during that

conference and for the reasons stated at that time, which are incorporated herein by

reference, it is hereby

       ORDERED, that:

       (1) the motions for approval of attorneys’ fees and expenses (Dkt. Nos. 1204,

1211) are GRANTED.

       (2) The motions for the approval of accounting fees and expenses (Dkt. Nos.

1205, 1212) are GRANTED.

       IT IS SO ORDERED.

       Dated: December 1, 2021
             Albany, New York




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